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                      UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            SHERMAN DIVISION

MORINVILLE, )                                       Case No. 20-cv-00980
                          )
      Plaintiff, )
                          )
      v.              )
                          )
OVERWATCH )
TECHNOLOGIES, INC. ET )
AL.,                   )
                          )
      Defendants. )



                PLAINTIFF S MOTION TO AMEND COMPLAINT

                                 EXHIBIT F




                                      21
                              Case 4:20-cv-00980-KPJ Document 58-6 Filed 12/13/21 Page 2 of 2 PageID #: 3000




                                                                                                     Terry Fokas
                                                                                           Chief Executive Officer


                                                                                                       Eran Ferri
                                                                                             Interim Chief Operating
                                                                                                        Officer

                                  OPERATIONS                   COGNITIVE DECLINE             OVERWATCH ARP                             EYMPACT                 EYMPAIR
                              Christine Nicodem                       TBD                     Stephanie Fokas                            TBD                 Paul Morin ille
                                     Manager                     Product Manager             Product Manager                       Product Manager          Product Manager



                    Lea Gala iz            Matthew Reaves                                                                          Chris Czura               Daniel Monaghan
                  Customer Service         Customer Service                                                                 Clinical Studies Manager         Project Manager


                                  Engineering, Innovation & Research

United States: En ineering                                             Israel: Innovation and Research


                                                                                                  Rotem Tzuk
                                                              Dovi Yeilin
                                                                                                 Wee President,
                                                          Chief Scientist
                                                                                                        R&D


                                                          Seyed Hosseini                                       Eyal Borovsky T
                                                                                          TBD
                                                           M/L Engineer                                             (Student)
                                                                                        Developer
                                                                                                                    Developer


                                                          Adi Goldenberg                Omri Gilhar
                                                                (Student)                (Student)             Gil Blumenfeld
                                                              Data Scientist            Developer                    QA
                                                                     i

                                                                   TBD
                                                                                                                                                        VERWATCH
                                                                                                                                                       O i b i t a l Health
                                                              M/L Engineer
